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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

PUBLIC CITIZEN, INC.,                         )
                                              )
               Plaintiff,                     )      Civil Action No. 97-2891
                                              )
v.                                            )
                                              )
JOSHUA B. BOLTEN,                             )
Director of the Office of Management and      )
Budget, et al.,                               )
                                              )
               Defendants.                    )

       PLAINTIFF’S RESPONSE TO DEFENDANTS’ MARCH 29, 2005 UPDATE

       Pursuant to the Court’s March 10 order, Plaintiff submits this response to Defendants’ March

29, 2005 factual and legal update.

       A. Department of Energy’s Index of Major Information Systems

       Plaintiff had drafted a response to Defendant’s update with respect to the index of the

Department of Energy (“DOE”) and was preparing to file it this afternoon. As of approximately 4:30

p.m., DOE still had no index of major information systems on its website. Plaintiff had planned to

respond that the list filed on March 29, 2005, as an attachment to the Wallace declaration failed to

satisfy FOIA both because it was not publicly available and because it did not include descriptions

of the items listed, as required by the Freedom of Information Act. See 5 U.S.C. § 552(g)(2); see

also OMB Circular A-130, § 9(a)(7), www.whitehouse.gov/omb/circulars/a130/a130trans4.html

(requiring each agency to maintain an inventory of major information systems and a description of

the agency’s major information and record locator systems).

       At 5:15 p.m., before completing the electronic filing, Plaintiff checked the DOE website once

more and found that the list is now posted and does include descriptions. Because DOE’s list and
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descriptions of major information systems was not available until late this afternoon, Plaintiff has

not had an opportunity to review the list to assess whether it is complete. With respect to DOE’s

index, the issue addressed in the cross-motions for summary judgment was completeness.

Accordingly, Plaintiff proposes to review the DOE list and provide a further response to the Court

in one week, on April 12, 2005. Counsel for Defendants has no objection to Plaintiff’s doing so.

       B. Request for Reconsideration

       Defendants’ discussion of whether the Court improperly deferred to the construction of

section 3506(b)(4) of the PRA set forth in the Arbuckle declaration errs on several important points.

       First, Defendants’ update argues that deference to OMB Circular A-130 was proper.

However, the Court’s December 2000 opinion did not defer to that Circular. Rather, it deferred to

the Arbuckle declaration. 127 F. Supp. 2d 1, 8, 25 (D.D.C. 2000). That declaration was created for

this litigation and was not a longstanding interpretation or one subject to notice and comment

rulemaking.

       Second, Defendants’ update states that the Arbuckle declaration was entitled to deference

because it set forth the agency’s interpretation of its own regulation. Putting aside the fact that an

OMB Circular is not a regulation, the Circular that the Arbuckle declaration purported to construe

did not itself construe the PRA provision at issue, section 3506(b)(4). At the time the declaration

was signed and filed, OMB Circular A-130 discussed PRA section 3511(a)’s requirement of an index

of “major information systems,” but not section 3506(b)(4)’s requirement that agencies maintain a

“current and complete inventory of [] information resources.”

       Finally, Defendants argue that OMB Circular A-130 has been revised to clarify that the

agency believes that PRA section 3506(b)(4) requires a list of “major” information systems, not a


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“complete” list of all information systems, and that the Court should defer to this Circular. However,

deference is not warranted for the reasons discussed in Plaintiff’s pending Motion for Summary

Judgment and Request for Reconsideration (at 18-19).

       Moreover, when it revised the Circular, OMB failed to provide a reasoned explanation for

its construction of the statutory language. See Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 212

(1988) (refusing to give deference to agency interpretation that was not “reasoned and consistent”

view). In cursory fashion, OMB gave four reasons for its reading of section 3506(b)(4): (1) it had

taken such a position in this litigation, (2) its view was supported by section 3506(b)(4)’s references

to section 3511, (3) its view was consistent with the 1996 e-FOIA Amendments, and (4) focusing

attention on “major” systems makes sense for improving agency management. See 65 Fed. Reg.

19933, 19934 (2000) (proposed revision); see also 65 Fed. Reg. 77677, 77680 (2000) (final

revision).

       The first reason is plainly irrelevant. See Auer v. Robbins, 519 U.S. 452, 462 (1997)

(indicating that deference is appropriate where agency’s “position is in no sense a ‘post hoc

rationalizatio[n]’ advanced by an agency seeking to defend past agency action against attack”)

(quoting Bowen, 488 U.S. at 212) ; Bowen, 488 U.S. at 213 (deference to agency litigating position

“entirely inappropriate”). The second cuts against Defendants, as the Court previously recognized.

127 F. Supp. 2d at 23 (“Thus, the use of ‘including’ to cross-reference directories containing major

information systems suggests that a major information system is an ‘illustrative application’ of the

term ‘information resources.’”). The third reason, consistency with the e-FOIA Amendments, also

fails. Although the Circular reads the PRA provision and the FOIA provision consistently by

construing them to impose identical obligations, Plaintiff’s reading would not impose inconsistent


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obligations, just a PRA obligation that is broader than the FOIA obligation. Finally, OMB’s view

about what makes most sense as a matter of policy sheds no light on congressional intent; indeed,

the Court has stated that section 3506’s objective may be better served by Plaintiff’s reading. Id. at

25.

       In its prior opinion, the Court indicated that OMB’s view, as set forth in the Arbuckle

declaration, did not have “overwhelming” support, but that the Court would defer to the agency

because its reading “represents a permissible construction of the statute.” Id. at 26. Because the

Court erred in deferring to the Arbuckle declaration to decide what the Court viewed as a close

question, reconsideration is warranted.

April 5, 2005                                         Respectfully submitted,

                                                              /s/
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